Case 4:09-cr-40082-JPG        Document 95        Filed 11/04/10      Page 1 of 2        Page ID #156




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

    UNITED STATES OF AMERICA,                     )
                                                  )
           Plaintiff,                             )
                                                  )
    vs.                                           )    No. 09-cr-40082-JPG-001
                                                  )
    TERRANCE P. MARTIN,                           )
                                                  )
           Defendant.                             )

                                MEMORANDUM AND ORDER

           This cause coming before the Court on the Motion to Dismiss (Doc. 92) filed by

    the defendant, TERRANCE P MARTIN. Martin asks the Court to dismiss the indictment

    on the grounds that he was not indicted within thirty days of his arrest as required by the

    Speedy Trial Act, 18 U.S.C. § 3161(b). Martin was arrested on October 2, 2009, and was

    indicted on December 8, 2009, sixty-seven days later. The Government has responded to

    the motion (Doc. 93), arguing that Martin’s arrest did not trigger the thirty-day

    requirement of the Speedy Trial Act.

           It is true that the Speedy Trial Act requires the Government to indict a defendant

    within thirty days from the date on which he was arrested. 18 U.S.C. § 3161(b).

    However, the Seventh Circuit Court of Appeals has held that an arrest by state officers

    does not trigger the thirty-day period. United States v. Janik, 723 F.2d 537, 542 (7th Cir.

    1983). Furthermore, the thirty-day period does not start to run unless a criminal charge

    has been lodged. Id.

           In this case, Martin does not claim he was arrested by any federal officer, and the

    Government has asserted Martin’s arrest was by state officers. Furthermore, there were

    no federal charges lodged against Martin in this case until his indictment on December 8,
Case 4:09-cr-40082-JPG       Document 95        Filed 11/04/10     Page 2 of 2     Page ID #157




    2009. Consequently, under Janik, Martin’s October 2, 2009, arrest did not start his

    thirty-day period under the Speedy Trial Act. For this reason, the Court DENIES

    Martin’s motion to dismiss the indictment (Doc. 92).

    IT IS SO ORDERED.
    DATED: November 4, 2010

                                         s/J. Phil Gilbert
                                         J. PHIL GILBERT
                                         U. S. DISTRICT JUDGE
